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UNITED STATES DISTRICT coURT DlSTR)CToFNEvAD/\
DISTRICT OF NEVAD; BY: DEPUTY

 

 

 

RENO, NEVADA

CASE NO. 3:12-Cr-OOO4~RCJ-VPC
UNITED STATES OF AMERICA

Plaintiff($), ORDER OF THE COURT
DANIEL JAMES DRAPER

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)
)
vS. )
)
)
)
Defendant(S). )

)

 

The Court having ordered the jury impaneled in the above-
entitled action to be kept together during the period of

deliberation, now, therefore,

IT IS ORDERED that all meals for Said jury Shall be paid

by the Clerk of the Court.

DATED this l(@day OWQ}L/M/

ROBERT C. J@
UNITED STAT@ EDISTRICT JUDGE

